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 Attorney for Plaintiff




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PENDLETON DIVISION



MARLA CHOPIC,                                                         Case No. 2:18-cv-02017-MC

        Plaintiff,

vs.                                                                          PROPOSED ORDER

COMMISSIONER OF SOCIAL SECURITY,

        Defendant.



        Attorneys’ fees in the amount of $10,000.00 (ten thousand dollars) are hereby awarded to

Plaintiff pursuant to the Equal Access To Justice Act, 28 U.S.C. § 2412(d). Subject to any offset

allowed under the Treasury Offset Program, payment of this award shall be made via check sent to

Attorney Ari Halpern’s address: 62910 O.B. Riley Rd., Suite 100 Bend, OR 97703. In accordance

with the fee assignment Plaintiff has signed, payment shall be made in Ari Halpern’s name if no debt

subject to offset exists.
           20th day of ________________,
DATED this ____         October          2021.
                                                      s/Michael J. McShane
                                                     _________________________________
                                                     Michael J. McShane
                                                     United States District Judge


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Submitted on October 19, 2021
by: s/ Ari D. Halpern
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